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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF INDIANA
                             SOUTH BEND DIVISION

ERIK SILGUERO,                             -
                                           -
       Plaintiffs,                         -
                                           -
       v.                                  -      3:18-cv-00628-JD-MGG
                                           -
ONEMAIN FINANCIAL GROUP, LLC,              -
                                           -
       Defendant.                          -

                        NOTICE OF VOLUNTARY DISMISSAL


               NOW COMES Plaintiff, ERIK SILGUERO (“Plaintiff”), by his attorneys, KROHN

& MOSS, LTD., and pursuant to FRCP 41(a)(1)(A) (Dismissal of Actions—Voluntary Dismissal By

Plaintiff Without Court Order) voluntarily dismisses, with prejudice, ONEMAIN FINANCIAL

GROUP, LLC, (“Defendant”), in this case.



DATED: November 30, 2018                          RESPECTFULLY SUBMITTED,

                                               By: /s/ Adam T. Hill
                                                  Adam T. Hill
                                                  Attorney for Plaintiff
                                                  Krohn & Moss, Ltd.
                                                  10 N. Dearborn St
                                                  Suite 301
                                                  Chicago, IL 60602
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                                                  Email: ahill@consumerlawcenter.com




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                           NOTICE OF VOLUNTARY DISMISSAL
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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 30, 2018, I electronically filed the foregoing Notice of

Voluntary Dismissal with the Clerk of the Court by using the CM/ECF System. A copy of said

Notice was submitted to all parties by way of the Court’s CM/ECF System




                                                        By: /s/ Adam T. Hill__
                                                           Adam T. Hill
                                                           Attorney for Plaintiff




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                            NOTICE OF VOLUNTARY DISMISSAL
